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 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA

10   CHRIS LANGER,                                   )    Case No.: 2:20-CV-04943-SVW-AGR
                                                     )
11          Plaintiff,                               )    NOTICE OF SETTLEMENT AND
                                                     )    REQUEST TO VACATE ALL
12                                                   )    CURRENTLY SET DATES
       v.                                            )
13                                                   )
     MCDONALD'S CORPORATION, a                       )
14   Delaware Corporation; GARCO                     )
                                                     )
15   ENTERPRISES, INC., a California                 )
     Corporation; and Does 1-10,                     )
16                                                   )
            Defendant.                               )
17                                                   )
18
19          The plaintiff hereby notifies the court that a global settlement has been reached in
20   the above-captioned case and the parties would like to avoid any additional expense,
21   and to further the interests of judicial economy.
22          The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
23   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
24   parties, will be filed within 60 days.
25
26                                             CENTER FOR DISABILITY ACCESS
27   Dated: September 19, 2020                 By:       /s/Amanda Seabock
                                                         Amanda Seabock
28                                                       Attorney for Plaintiff

     Notice of Settlement                     -1-                    2:20-CV-04943-SVW-AGR
